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                                                                                                                         10

                                                                                                                         11                              UNITED STATES DISTRICT COURT

                                                                                                                         12                                     DISTRICT OF NEVADA
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                         13   DIAMOND RESORTS CORPORATION, a
                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
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                                                                                                                              Maryland corporation; DIAMOND                Case No.:
                                                                                                                         14   RESORTS HOLDINGS, LLC, a Nevada
                                                                                                                              limited liability company; and DIAMOND
                                                                                                                         15   RESORTS INTERNATIONAL, INC., a
                                                                                                                              Delaware corporation,
                                                                                                                         16                                                COMPLAINT FOR DAMAGES AND
                                                                                                                                                  Plaintiffs,              INJUNCTIVE RELIEF
                                                                                                                         17
                                                                                                                              vs.
                                                                                                                         18
                                                                                                                              KYLE BROWN, an individual; MARTIN
                                                                                                                         19   BROWN, an individual; EXCHANGE
                                                                                                                              POINTS CLUB, LLC, a Florida and
                                                                                                                         20   Missouri limited liability company;
                                                                                                                              PREMIER REWARDS LLC, a Missouri
                                                                                                                         21   limited liability company; VMG RESORTS
                                                                                                                              LLC, a Missouri limited liability company;
                                                                                                                         22   VACATION MANAGEMENT GROUP,
                                                                                                                              LLC, a Missouri limited liability company;
                                                                                                                         23   and OWNER EXTRAS LLC, a Missouri
                                                                                                                              limited liability company,
                                                                                                                         24
                                                                                                                                                  Defendants.
                                                                                                                         25

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                                                                                                                         1          For their complaint, Plaintiffs Diamond Resorts Corporation, Diamond Resorts
                                                                                                                         2    Holdings, LLC, and Diamond Resorts International, Inc. (collectively, “Diamond”),
                                                                                                                         3    through their attorneys Ballard Spahr, LLP, allege as follows:
                                                                                                                         4                                    NATURE OF ACTION
                                                                                                                         5          1.     This is an action for trademark infringement, false designation of origin,
                                                                                                                         6    and false advertising under the Lanham Act, 15 U.S.C. §§ 1114, 1125(a)(1), as well as
                                                                                                                         7    for deceptive trade practices under Nevada’s Deceptive Trade Practices Act, Nev.
                                                                                                                         8    Rev. Stat. §§ 598, 598A et seq, and common law conversion.
                                                                                                                         9          2.     Diamond is a collection of interrelated businesses that market and sell
                                                                                                                         10   timeshare interests, manage resorts and multi-resort trusts, and operate points-
                                                                                                                         11   based vacation clubs. Diamond is a global leader in the hospitality industry and one
                                                                                                                         12   of the largest independent-branded vacation ownership businesses in the country. It
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                                                                                                                         13   is the owner of multiple marks in connection with those activities, including, as
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                                                                                                                         14   relevant here, the mark “DIAMOND RESORTS®,” and the mark “THE CLUB®.”
                                                                                                                         15         3.     In tandem with its hospitality and management services, Diamond’s
                                                                                                                         16   core business is the marketing and sale of timeshare interests to persons who want
                                                                                                                         17   access to a vacation-ownership program (“Timeshare Program”) that provides
                                                                                                                         18   flexibility in terms of the location, season and duration of their vacation.       The
                                                                                                                         19   purchasers of those timeshare interests (“Collection Members” or “Members”)
                                                                                                                         20   acquire, through their purchase, “Points,” which act as currency that is exchangeable
                                                                                                                         21   for occupancy rights in accommodations at resorts within their Timeshare Program
                                                                                                                         22   and at other Diamond-affiliated resorts (collectively, the “Resorts”).
                                                                                                                         23         4.     Defendants Kyle Brown and Martin Brown are, upon information and
                                                                                                                         24   belief, the sole principals behind the five business-entity Defendants: Exchange
                                                                                                                         25   Points LLC, PR Rewards LLC, VMG Resorts LLC, Vacation Management Group
                                                                                                                         26   LLC, and Owners Extras, LLC (collectively, “Defendants”). The Browns’ businesses
                                                                                                                         27   are related to a particular segment of the timeshare industry called “exchange
                                                                                                                         28   networks,” which provide a mechanism for timeshare owners to use their timeshare

                                                                                                                                                                         2
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                                                                                                                         1    interests for something other than vacation stays at accommodations within their
                                                                                                                         2    own timeshare program.        Some exchange networks run perfectly legitimate
                                                                                                                         3    businesses, which, with the cooperation and authorization of the timeshare
                                                                                                                         4    companies, permit timeshare owners to reserve accommodations outside of their
                                                                                                                         5    particular timeshare program. The Browns’ businesses, however, are not legitimate.
                                                                                                                         6          5.    On the contrary, Defendants have engaged in deceptive and illicit
                                                                                                                         7    schemes designed to profit at the expense of Diamond and Collection Members. As
                                                                                                                         8    explained in detail below, those schemes have involved an ongoing campaign of
                                                                                                                         9    telephonic advertisements, in which, making use of Diamond’s marks and other
                                                                                                                         10   deceptive means to falsely suggest affiliation with Diamond, Defendants have
                                                                                                                         11   attempted to trick Collection Members into turning over control of their Points to
                                                                                                                         12   Defendants in direct violation of the governing documents for their Timeshare
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                                                                                                                         13   Program.     Defendants are then using Members’ Points to reserve Resort
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                                                                                                                         14   accommodations for their customers, employing Diamond’s marks and other
                                                                                                                         15   misleading representations in order to falsely hold themselves out as authorized
                                                                                                                         16   wholesale distributors of vacation stays at the Resorts. And, to make matters worse,
                                                                                                                         17   Defendants are charging Collection Members a substantial up-front fee for the
                                                                                                                         18   “service” of renting out their Points on their behalf, even though Defendants have no
                                                                                                                         19   authorization to rent out anyone’s Points, and, upon information and belief,
                                                                                                                         20   Defendants end up returning little, if any, of the proceeds from those unauthorized
                                                                                                                         21   transactions back to the Collection Member.
                                                                                                                         22         6.    Defendants’ willful and dishonest schemes have caused, and are
                                                                                                                         23   continuing to cause, substantial and immediate harm to Diamond.            First, by
                                                                                                                         24   misappropriating Diamond’s marks to falsely suggest affiliation with Diamond, and
                                                                                                                         25   making false representations to Collection Members about what they can do with
                                                                                                                         26   their Points, Defendants are irreparably disrupting Diamond’s relationship with
                                                                                                                         27   Collection Members, who are being scammed out of money by a company they believe
                                                                                                                         28   to be affiliated with Diamond, as well as fundamentally misled about the nature of

                                                                                                                                                                       3
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                                                                                                                         1    their Timeshare Program.         Second, by using Members’ Points to reserve Resort
                                                                                                                         2    accommodations for their customers, Defendants are diverting vacationers away from
                                                                                                                         3    Diamond, who otherwise could gain access to such accommodations only through
                                                                                                                         4    Diamond.    Third, Diamond has had to expend significant resources investigating
                                                                                                                         5    Defendants’ schemes, as well as attempting to counteract the effects of those schemes
                                                                                                                         6    on Diamond’s business reputation.
                                                                                                                         7          7.        Thus, Diamond seeks relief from this Court in the form of an
                                                                                                                         8    accounting, monetary damages consisting of disgorgement of all of Defendants’ ill-
                                                                                                                         9    gotten gains, attorneys’ fees, and – most importantly – preliminary and permanent
                                                                                                                         10   injunctive relief barring Defendants from continuing to carry out their schemes.
                                                                                                                         11                           PARTIES, JURISDICTION AND VENUE
                                                                                                                         12         A.        The Plaintiffs
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                                                                                                                         13         8.        Plaintiff Diamond Resorts Corporation (“DRC”) is a Maryland
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14   corporation with its principal place of business located at 10600 West Charleston
                                                                                                                         15   Boulevard, Las Vegas, Nevada 89135. DRC is the parent company and sole owner of
                                                                                                                         16   all of Diamond’s “development entities,” which are the business entities that enter
                                                                                                                         17   into contracts with Collection Members for the purchase and sale of Points. Because
                                                                                                                         18   DRC is the 100% owner of all of Diamond’s development entities, it ultimately
                                                                                                                         19   subsumes all the losses incurred by its underlying development entities, including, as
                                                                                                                         20   relevant here, all losses caused by Defendants’ scheme.
                                                                                                                         21         9.        Plaintiff Diamond Resorts Holdings, LLC (“DRH”) is a limited liability
                                                                                                                         22   company organized under the laws of the State of Nevada with its principal place of
                                                                                                                         23   business located at 10600 West Charleston Boulevard, Las Vegas, Nevada 89135. It
                                                                                                                         24   is the parent company of DRC, and the owner of all of the Diamond marks at issue in
                                                                                                                         25   this lawsuit.
                                                                                                                         26         10.       Plaintiff Diamond Resorts International, Inc. (“DRI”) is a Delaware
                                                                                                                         27   corporation with its principal place of business located at 10600 West Charleston
                                                                                                                         28

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                                                                                                                         1    Boulevard, Las Vegas, Nevada 89135. DRI is the parent company and sole owner of
                                                                                                                         2    DRH.
                                                                                                                         3           B.      The Defendants
                                                                                                                         4           11.     Defendant Kyle Brown is an individual who resides in the State of
                                                                                                                         5    Missouri. Upon information and belief, he, along with Defendant Martin Brown, are
                                                                                                                         6    the architects behind the business-entity Defendants, and the illicit schemes
                                                                                                                         7    described herein.
                                                                                                                         8           12.     Defendant Martin Brown is an individual who resides in the State of
                                                                                                                         9    Missouri. Upon information and belief, he, along with Defendant Kyle Brown, are
                                                                                                                         10   the architects behind the business-entity Defendants, and the illicit schemes
                                                                                                                         11   described herein.
                                                                                                                         12          13.     Defendant Exchange Points Commission, LLC (“Exchange Points”) is
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                                                                                                                         13   registered as a limited liability company in both the State of Florida and the State of
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14   Missouri. Its Florida registration lists its address as 6965 Piazza Grande Avenue,
                                                                                                                         15   #218, Orlando, Florida 32835, and identifies Kyle Brown as its manager. Attached
                                                                                                                         16   hereto as Exhibit 1 is a true and correct copy of Exchange Points’ Florida Annual
                                                                                                                         17   Report for 2018. Exchange Points’ Missouri registration lists its principal place of
                                                                                                                         18   business as 22 Gravois Station, House Springs, Missouri 63051, and identifies Kyle
                                                                                                                         19   Brown as its organizer. Attached hereto as Exhibit 2 is a true and correct copy of
                                                                                                                         20   Exchange Points’ Missouri Articles of Organization.
                                                                                                                         21          14.     Defendant Premier Rewards LLC a/k/a PR Rewards (“PR Rewards”) is a
                                                                                                                         22   Missouri limited liability company. Like Exchange Points, it lists its principal place
                                                                                                                         23   of business as being at 22 Gravois Station, House Springs, Missouri 663051. Upon
                                                                                                                         24   information and belief, its only two members are Defendants Martin Brown and Kyle
                                                                                                                         25   Brown.       The Articles of Organization for PR Rewards list its email address as
                                                                                                                         26   “exchangepointsclub@gmail.com,” which is the same email address listed for
                                                                                                                         27   Exchange Points in its Articles of Organization. Attached hereto as Exhibit 3 is a
                                                                                                                         28   true and correct copy of Premier Rewards’ Articles of Organization. PR Rewards

                                                                                                                                                                        5
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                                                                                                                         1    appears to have recently changed its name to Member Perks LLC, but the publicly
                                                                                                                         2    available organizational documents indicate that it remains the same legal entity.
                                                                                                                         3          15.    Defendant VMG Resorts LLC (“VMG Resorts”) is a Missouri limited
                                                                                                                         4    liability company with its principal place of business located at 10650 Keystone
                                                                                                                         5    Drive, Blackwell, Missouri 63626. Upon information and belief, its sole member is
                                                                                                                         6    Defendant Martin Brown. Attached hereto as Exhibit 4 is a true and correct copy of
                                                                                                                         7    VMG Resorts’ Articles of Organization.
                                                                                                                         8          16.    Defendant Vacation Management Group, LLC (“Vacation Management
                                                                                                                         9    Group”) is a Missouri limited liability company.      Like Exchange Points and PR
                                                                                                                         10   Rewards, it lists its principal place of business as 22 Gravois Station, House Springs,
                                                                                                                         11   Missouri 663051. Vacation Management Group is the parent company of both PR
                                                                                                                         12   Rewards and VMG Resorts.       Upon information and belief, Vacation Management
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                                                                                                                         13   Group’s sole member is Defendant Martin Brown. Attached hereto as Exhibit 5 is a
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14   true and correct copy of Vacation Management Group’s Statement of Change of
                                                                                                                         15   Business Office Address.
                                                                                                                         16         17.    Defendant Owner Extras LLC (“Owner Extras”) is a Missouri limited
                                                                                                                         17   liability company. Like Exchange Points, PR Rewards, and Vacation Management
                                                                                                                         18   Group, it lists its principal place of business as 22 Gravois Station, House Springs,
                                                                                                                         19   Missouri 663051. Upon information and belief, Owners Extras’ sole member is Kyle
                                                                                                                         20   Brown. The Articles of Organization for Owners Extras list its email address as
                                                                                                                         21   being “info@vmgresorts.com,” which is the same email address listed for VMG
                                                                                                                         22   Resorts in its Articles of Organization. Attached hereto as Exhibit 6 is a true and
                                                                                                                         23   correct copy of Owner Extras’ Articles of Organization.
                                                                                                                         24         C.     Jurisdiction and Venue
                                                                                                                         25         18.    This Court has subject matter jurisdiction over this matter under 28
                                                                                                                         26   U.S.C. § 1332 because there is complete diversity of citizenship between Plaintiffs
                                                                                                                         27   and Defendants and the amount in controversy exceeds $75,000.
                                                                                                                         28

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                                                                                                                         1           19.     Alternatively, this Court has subject matter jurisdiction over the claims
                                                                                                                         2    grounded in the Lanham Act under 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a), and
                                                                                                                         3    can exercise subject matter jurisdiction over the Nevada state law claims pursuant to
                                                                                                                         4    28 U.S.C. § 1367(a), as those claims are so related to the claims asserted under
                                                                                                                         5    federal law as to form part of the same case or controversy.
                                                                                                                         6           20.     This Court may properly exercise personal jurisdiction over Defendants
                                                                                                                         7    because this action arises out of Defendants’ purposeful contacts with the State of
                                                                                                                         8    Nevada, including their (a) directing infringing advertising and promotional
                                                                                                                         9    communications at Nevada residents, (b) engaging in schemes designed to divert
                                                                                                                         10   sales from Plaintiffs, which are businesses located and/or incorporated in Nevada,
                                                                                                                         11   (c) holding themselves out as affiliated with Plaintiffs, which are businesses located
                                                                                                                         12   and/or incorporated in Nevada, (d) wrongfully converting Plaintiffs’ and their
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                                                                                                                         13   affiliates’   exclusive   right   to   engage       in   the   commercial   rental   of   Resort
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14   accommodations through the use of Points under the governing documents for the
                                                                                                                         15   Collections, which are businesses located and/or incorporated in Nevada, and
                                                                                                                         16   (e) engaging in schemes executed in significant part by deceptively gaining access to
                                                                                                                         17   Collection Members’ online owner portal accounts, which are hosted and managed by
                                                                                                                         18   a Diamond affiliate in Nevada (“Member Portal Accounts”).
                                                                                                                         19          21.     Venue is proper in this Court pursuant 28 U.S.C. § 1391(b)(2) because,
                                                                                                                         20   as described above and below, a substantial part of the events giving rise to
                                                                                                                         21   Diamond’s claims took place in this District.
                                                                                                                         22                              FACTS COMMON TO ALL COUNTS
                                                                                                                         23          A.      The Diamond Marks
                                                                                                                         24          22.     Since its founding in 1996, Diamond has grown into one of the largest
                                                                                                                         25   and well-known hospitality companies in the world, with more than 109 properties
                                                                                                                         26   that are part of the Collections (as defined below), managed by Diamond affiliates, or
                                                                                                                         27   otherwise Diamond-branded, and 268 affiliated resorts and hotels throughout the
                                                                                                                         28   continental United States and Hawaii, Canada, Mexico, the Caribbean, Europe, Asia,

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                                                                                                                         1    Australia, and Africa. Presently, Diamond provides hospitality services to more than
                                                                                                                         2    400,000 Members worldwide.
                                                                                                                         3          23.    A crucial part of Diamond’s success has been building up the Diamond
                                                                                                                         4    brand.   During its more than two decades of existence, Diamond has invested
                                                                                                                         5    considerable time and expense in marketing its brand, including its associated
                                                                                                                         6    marks, to establish wide-spread recognition of, and goodwill for, the Diamond brand
                                                                                                                         7    among the consuming public, including Collection Members.
                                                                                                                         8          24.    Diamond’s timeshare and hospitality programs are all marketed under
                                                                                                                         9    Diamond’s marks, which DRI owns through its wholly owned subsidiary DRH. These
                                                                                                                         10   include various marks incorporating the word “Diamond®,” as well as the mark “The
                                                                                                                         11   Club®,” which, as explained below, Diamond uses to denote certain specific Member
                                                                                                                         12   exchange programs and services that it offers.
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                                                                                                                         13         25.    As relevant here, Diamond’s marks (the “Diamond Marks”) include the
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14   following federally registered marks:
                                                                                                                         15      Registration          Trademark           Registration Date     Description of
                                                                                                                                   Number                                                         Good and/or
                                                                                                                         16                                                                        Services
                                                                                                                         17   2,411,329            DIAMOND       December 5, 2000              IC    042:   Hotel
                                                                                                                                                   RESORTS                                     Services.
                                                                                                                         18                        INTERNATIONAL
                                                                                                                         19   2,432,190            DIAMOND       February 27, 2001             IC 036: Real estate
                                                                                                                                                   RESORTS                                     time       sharing
                                                                                                                         20                        INTERNATIONAL                               services.
                                                                                                                         21   3,746,815            DIAMOND              February 9, 2010       IC 036: real estate
                                                                                                                                                   RESORTS                                     equity     sharing,
                                                                                                                         22                                                                    namely, managing
                                                                                                                                                                                               and arranging for
                                                                                                                         23                                                                    co-ownership     of
                                                                                                                                                                                               real estate; real
                                                                                                                         24                                                                    estate        time-
                                                                                                                                                                                               sharing; vacation
                                                                                                                         25                                                                    real estate time
                                                                                                                                                                                               share     exchange
                                                                                                                         26                                                                    services; vacation
                                                                                                                                                                                               real estate time-
                                                                                                                         27                                                                    sharing.
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                                                                                                                         1       Registration       Trademark          Registration Date     Description of
                                                                                                                                   Number                                                     Good and/or
                                                                                                                         2                                                                     Services
                                                                                                                         3    4,361,959          DIAMOND       July 2, 2013                IC 035: Real estate
                                                                                                                                                 RESORTS                                   sales
                                                                                                                         4                       INTERNATIONAL                             management;
                                                                                                                                                                                           managing       and
                                                                                                                         5                                                                 operating hotels of
                                                                                                                                                                                           others.
                                                                                                                         6
                                                                                                                              4,805,164          DIAMOND PLUS September 1, 2015            IC 035: Incentive
                                                                                                                         7                       POINTS                                    programs        for
                                                                                                                                                                                           credit card users,
                                                                                                                         8                                                                 namely, providing
                                                                                                                                                                                           gift         cards,
                                                                                                                         9                                                                 merchandise, and
                                                                                                                                                                                           travel awards for
                                                                                                                         10                                                                credit card use as
                                                                                                                                                                                           part of a customer
                                                                                                                         11                                                                loyalty program.
                                                                                                                         12                                                                IC 036: Credit
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                                                                                                                                                                                           card       services;
                                                                                                                         13
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                                                                                           incentive
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                                                                                                                                                                                           programs         for
                                                                                                                         14                                                                credit card users,
                                                                                                                                                                                           namely, providing
                                                                                                                         15                                                                cash and rebates
                                                                                                                                                                                           for credit card use
                                                                                                                         16                                                                as part of a
                                                                                                                                                                                           customer loyalty
                                                                                                                         17                                                                program.
                                                                                                                         18   3,566,128          THE CLUB           January 20, 2009   IC 36: Real estate
                                                                                                                                                                                       equity     sharing,
                                                                                                                         19                                         Date of First Use: namely, managing
                                                                                                                                                                    September      30, and arranging for
                                                                                                                         20                                         2007               co-ownership      of
                                                                                                                                                                                       real estate; Real
                                                                                                                         21                                                            estate     services,
                                                                                                                                                                                       namely, rental of
                                                                                                                         22                                                            short-term
                                                                                                                                                                                       furnished
                                                                                                                         23                                                            apartments; Real
                                                                                                                                                                                       estate        time-
                                                                                                                         24                                                            sharing; Vacation
                                                                                                                                                                                       real estate time
                                                                                                                         25                                                            share     exchange
                                                                                                                                                                                       services; Vacation
                                                                                                                         26                                                            real estate time-
                                                                                                                                                                                       sharing; Vacation
                                                                                                                         27                                                            real         estate
                                                                                                                                                                                       timeshare
                                                                                                                         28

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                                                                                                                         1        Registration          Trademark          Registration Date         Description of
                                                                                                                                    Number                                                            Good and/or
                                                                                                                         2                                                                             Services
                                                                                                                         3                                                                        services.
                                                                                                                         4

                                                                                                                         5     True and correct copies of each of the foregoing registrations are attached hereto as

                                                                                                                         6     Exhibits 7-12.

                                                                                                                         7           26.    The Diamond Marks are distinctive and signify to the consuming public,

                                                                                                                         8     including Collection Members, that products and services that come from Diamond

                                                                                                                         9     are reliable, trustworthy, and of high quality.

                                                                                                                         10          27.    Diamond uses the Diamond Marks in its advertising and promotional

                                                                                                                         11    materials, including its website, its brochures and catalogues, and its print and

                                                                                                                         12    online advertising.     In addition, Diamond uses the Diamond Marks in its
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                                                                                                                         13    communications with Collection Members to signal that the communication is coming
                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
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                                                                                                                         14    from Diamond.

                                                                                                                         15          B.     The Timeshare Programs

                                                                                                                         16          28.    Diamond’s     operations    consist   of   two     interrelated   businesses:

                                                                                                                         17    (a) timeshare interest sales and financing, which includes the marketing and sale of

                                                                                                                         18    timeshare   interests   and   consumer    financing     for   Collection   Members;    and

                                                                                                                         19    (b) hospitality and management services, which includes management of resort

                                                                                                                         20    properties and trusts, operation of vacation ownership clubs and resort amenities,

                                                                                                                         21    and the provision of other hospitality and management services.

                                                                                                                         22          29.    A Collection Member typically receives an annual or bi-annual

                                                                                                                         23    allotment of Points in exchange for its payment of the purchase price.1 That Member

                                                                                                                         24    is then able to use their Points to reserve accommodations at the Resorts or to

                                                                                                                         25

                                                                                                                         26           1 Diamond also offers non-timeshare trial packages called “Samplers,” which

                                                                                                                         27    do not come with renewable Points, but rather one-time use points that expire after a
                                                                                                                               set period.
                                                                                                                         28

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                                                                                                                         1     reserve accommodations or book other travel-related benefits outside of their
                                                                                                                         2     Collection if the Collection Member is a member of an exchange program.
                                                                                                                         3           30.     Members purchase Points in specific “Collections,” each of which
                                                                                                                         4     constitutes an independent Timeshare Program that includes multiple resort
                                                                                                                         5     locations.   For instance, a Member could purchase Points within the Diamond
                                                                                                                         6     Resorts U.S. Collection, in which case that Member would be able to use their Points
                                                                                                                         7     to reserve vacation stays at Resorts within that Collection, which are located
                                                                                                                         8     throughout the continental United States, as well as. St. Maarten.
                                                                                                                         9           31.     Within each Timeshare Program, Points are personal to the Collection
                                                                                                                         10    Member.      That is, Collection Members use their Points through their particular
                                                                                                                         11    membership accounts, usually reserving their vacation stays online through their
                                                                                                                         12    Member Portal Account.       As part of that system, Collection Members are not
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                                                                                                                         13    permitted to employ their Points for a commercial – rather than personal – use.
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                                                                                                                         14    Collection Members can, however, permit their “guests” – i.e., friends and family – to
                                                                                                                         15    enjoy vacation stays at the Resorts via their Points, provided that the Collection
                                                                                                                         16    Member personally makes the reservation with his or her own Points, and then
                                                                                                                         17    provides the names of the guests who will be using the reservation.
                                                                                                                         18          32.     As part of their membership, each Collection Member is required to pay
                                                                                                                         19    annual maintenance fees. These fees cover operating expenses and capital reserves
                                                                                                                         20    for the Members’ Collection, including, but not limited to, operation of the
                                                                                                                         21    reservation system; Member publications; independent exchange program affiliation
                                                                                                                         22    fees; invoicing and collecting maintenance fees; providing administrative services;
                                                                                                                         23    assessments levied by owners associations for Resorts within the Collection;
                                                                                                                         24    maintenance, repair modification, alteration, redecoration or replacement of each
                                                                                                                         25    Collection accommodations, the furnishings therein, and the common areas of
                                                                                                                         26    Resorts within the Collection; insurance coverage; capital contributions for reserves;
                                                                                                                         27    domestic services, including cleaning and maid service; noticing and conducting
                                                                                                                         28    association meetings; and obtaining management, accounting, legal, or other

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                                                                                                                         1     professional services.     The fees are paid directly to the non-profit members
                                                                                                                         2     association for that Member’s Collection.
                                                                                                                         3           33.    In addition, Members have access to “exchange networks.” For instance,
                                                                                                                         4     Diamond has an internal exchange network called “The Club®,” a name that
                                                                                                                         5     Diamond has trademarked for that purpose.               That program allows Collection
                                                                                                                         6     Members to exchange their Points to reserve accommodations outside of their
                                                                                                                         7     Collection, as well as for other travel-related benefits, such as cruises.
                                                                                                                         8           34.    There are also independent exchange companies outside of Diamond,
                                                                                                                         9     which allow timeshare owners to trade their timeshare interests within their
                                                                                                                         10    timeshare program for rights to reserve accommodations within other timeshare
                                                                                                                         11    programs. The two most prominent independent exchange companies are Interval
                                                                                                                         12    International (“II”) and Resort Condominiums International (“RCI”). II is currently
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                                                                                                                         13    an authorized exchange network for the Diamond Collections through an affiliation
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                                                                                                                         14    agreement between        The   Club®    and       II.   That   means    that   Collection
                                                                                                                         15    Members participating in The Club® are able to exchange their Points through II for
                                                                                                                         16    rights to reserve accommodations in other cooperating timeshare programs. RCI is
                                                                                                                         17    not currently an authorized exchange network for Collection Members, but it is for
                                                                                                                         18    other timeshare programs, and is well known throughout the industry.
                                                                                                                         19          35.    Finally, when Diamond has access to unsold or otherwise unused
                                                                                                                         20    inventory at the Resorts, it will attempt to rent such inventory to persons who are
                                                                                                                         21    not Collection Members or use such inventory for other sales and marketing purposes
                                                                                                                         22    Collection Members may also rent one-time-use Points from Diamond for purposes of
                                                                                                                         23    specific vacation plans in any given year.
                                                                                                                         24          36.    Thus, to be permitted to stay at accommodations that are part of a
                                                                                                                         25    Collection, a person must be one of the following: (a) a Collection Member (or a
                                                                                                                         26    permitted guest or family member of a Collection Member), (b) an owner of a
                                                                                                                         27    different timeshare interest who reserved accommodations at a Resort through an
                                                                                                                         28

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                                                                                                                         1     exchange program, or (c) someone who rented accommodations directly from
                                                                                                                         2     Diamond.
                                                                                                                         3           C.     Defendants’ Unlawful Schemes
                                                                                                                         4           37.    Diamond has recently discovered that Defendants have been engaged in
                                                                                                                         5     various schemes in which they sell and facilitate access to accommodations within
                                                                                                                         6     the Resorts to their customers, even though Defendants are not, in fact, authorized to
                                                                                                                         7     do so, and the persons to whom they are selling and facilitating this access are not
                                                                                                                         8     permitted users of such Resort accommodations.2
                                                                                                                         9           38.    Because the principal means of reserving stays at the Resorts – Points –
                                                                                                                         10    are in the hands of Collection Members, who are not permitted to rent those Points
                                                                                                                         11    for commercial purposes, Defendants’ schemes hinge on their ability to trick
                                                                                                                         12    Collection Members into giving Defendants control of their Points. Thus, Defendants
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                                                                                                                         13    have engaged in a campaign of misleading telephonic advertisements to Collection
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                                                                                                                         14    Members designed to obtain control of their Points.
                                                                                                                         15          39.    Although, as set forth below, the details of those sales calls vary, the
                                                                                                                         16    basic structure of the sales pitch remains the same. During the call, a representative
                                                                                                                         17    from one of the Defendants purports to be calling about the Member’s Collection
                                                                                                                         18    account with Diamond. In some of the instances of which Diamond presently aware,
                                                                                                                         19    the caller has explicitly and falsely represented that he or she is affiliated with
                                                                                                                         20    “Diamond” or “The Club” (which is operated by a Diamond affiliate) or the equity
                                                                                                                         21    sponsors of Diamond. In other such instances, the caller has falsely represented that
                                                                                                                         22    he or she is affiliated with “II” or “RCI,” or made some other misleading
                                                                                                                         23    representation.   In all such known instances, however, the caller has falsely
                                                                                                                         24    represented himself or herself as someone in rightful possession of insider knowledge
                                                                                                                         25    of the details of the Collection Member’s account (and, in many cases, insider
                                                                                                                         26
                                                                                                                                     2 Defendants also appear to be selling and facilitating occupancy at vacation
                                                                                                                         27
                                                                                                                               properties associated with timeshare companies other than Diamond.
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                                                                                                                         1     knowledge about purported problems with the account), as well as someone who can
                                                                                                                         2     make representations to Collection Members about what they can and cannot do with
                                                                                                                         3     their Points.
                                                                                                                         4           40.       After falsely representing to the Collection Member that he or she is
                                                                                                                         5     affiliated with Diamond (or else affiliated with an entity, such as II or RCI, which
                                                                                                                         6     conceivably might be authorized to serve as a legitimate exchange company for the
                                                                                                                         7     deposit of Points), the caller then proposes the following transaction: the caller’s
                                                                                                                         8     company will rent the Member’s Points, in exchange for an up-front broker’s fee, and
                                                                                                                         9     then, when the Member receives its portion of the proceeds from those transactions,
                                                                                                                         10    it can then apply the proceeds to its maintenance fees. To complete the proposed
                                                                                                                         11    transaction, the Member is required not only to pay the up-front fee, but also to give
                                                                                                                         12    over the password and other log-in details to his or her Member Portal Account,
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                                                                                                                         13    permitting Defendants to use that account to reserve accommodations at the Resorts
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                                                                                                                         14    on behalf of their customers.
                                                                                                                         15          41.       Thus, Defendants’ schemes have two parts.      First, Defendants have
                                                                                                                         16    gained access to Resort accommodations by falsely representing themselves to
                                                                                                                         17    Collection Members as authorized to rent their Points on their behalf, and
                                                                                                                         18    advertising to them programs in which Defendants will rent their Points for a fee.
                                                                                                                         19    Second,     Defendants    are providing   their customers with       access to   Resort
                                                                                                                         20    accommodations, falsely holding themselves out as authorized wholesalers of such
                                                                                                                         21    accommodations, and using access to the Member Portal Account and control of their
                                                                                                                         22    Points to make reservations they are providing to their customers.
                                                                                                                         23          42.       As explained below, the first part of the scheme appears to be carried
                                                                                                                         24    out primarily by Exchange Points, PR Reward, and Owner’s Extras, while the second
                                                                                                                         25    part of the scheme is carried out by VMG Resorts and Vacation Management Group.
                                                                                                                         26          43.       On information and belief, all of the conduct described herein by those
                                                                                                                         27    entities described herein has been carried out at the personal direction of Defendants
                                                                                                                         28    Kyle Brown and Martin Brown.

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                                                                                                                         1                  i.     Defendants’ Websites
                                                                                                                         2           44.    Though, as described below, much of Defendants’ schemes have involved
                                                                                                                         3     telephone solicitations of Collection Members that Defendants no doubt intended to
                                                                                                                         4     remain secret, some of it has been conducted out in the open on their websites.
                                                                                                                         5           45.    For instance, until it was recently changed in response to a cease-and-
                                                                                                                         6     desist letter from Diamond, the promotional website for Exchange Points laid out
                                                                                                                         7     both parts of the company’s scheme. The website included a page describing what it
                                                                                                                         8     calls its “Maintenance Reimbursement Program” for timeshare owners. That page
                                                                                                                         9     stated that: “For Club owners that already have Points or can’t use them, enrolling
                                                                                                                         10    as a Club member will save you more than ever. As long as you are an active Club
                                                                                                                         11    member, you can deposit any of your Points that you will not use and the Club will
                                                                                                                         12    pay you for your maintenance fees on those points!”          In addition, page used
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                                                                                                                         13    Diamond’s marks to falsely imply that Exchange Points is an authorized depository
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                                                                                                                         14    for Points, referencing a “Diamond VIP Member Payout” and a program called “Club
                                                                                                                         15    Diamond” that “price matches your original maintenance fees.” A true and correct
                                                                                                                         16    screen shot of that page of Exchange Points’ webpage is attached hereto as Exhibit
                                                                                                                         17    13.
                                                                                                                         18          46.    The other end of the scheme, where Exchange Points sells and
                                                                                                                         19    facilitates access to Resort accommodations to its customers, was made clear on a
                                                                                                                         20    separate page of the Exchange Points website labeled “Exchange Points Club |
                                                                                                                         21    Getting Started.”    That page stated that “Exchange Points Club delivers this
                                                                                                                         22    exclusive Club membership package, where you are able to get the Points, travel
                                                                                                                         23    deals, member benefits, and exceptional prices without having to own vacation
                                                                                                                         24    property. By enrolling in a Club membership, you get all of the benefits, discounts
                                                                                                                         25    and inventory available to timeshare owners without having to own a timeshare.” A
                                                                                                                         26    true and correct screen shot of that page of Exchange Points’ webpage is attached
                                                                                                                         27    hereto as Exhibit 14. The “FAQ” page of the Exchange Points website also made this
                                                                                                                         28    clear, stating that it “is able to provide customers these Points packages and benefits

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                                                                                                                         1     without all of the costs and obligations that come from buying a timeshare.” A true
                                                                                                                         2     and correct screen shot of that page of Exchange Points’ webpage is attached hereto
                                                                                                                         3     as Exhibit 15.
                                                                                                                         4           47.    The website for PR Rewards also advertised a program for renting
                                                                                                                         5     Points, until it was likewise changed in response to Diamond’s cease-and-desist
                                                                                                                         6     letter. Its home page prominently featured the “Diamond Resorts” logo, and touted
                                                                                                                         7     that it is “currently managing” roughly 1.8 million Points.        The website further
                                                                                                                         8     stated that: “We guarantee that your points/weeks will be rented and you will be paid
                                                                                                                         9     for your points/weeks in a timely manner.” In addition, the website offered three
                                                                                                                         10    tiers for Collection Members: “Silver,” where the Member supposedly gets “50%” of
                                                                                                                         11    all rental proceeds, “Gold,” where the Member supposedly gets “55%” of all rental
                                                                                                                         12    proceeds, and “Platinum,” where the Member supposedly gets “60%” of all rental
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                                                                                                                         13    proceeds. A true and correct screen shot of the PR Rewards homepage is attached
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                                                                                                                         14    hereto as Exhibit 16.
                                                                                                                         15          48.    While PR Rewards does not itself appear to be selling and facilitating
                                                                                                                         16    access to accommodations within the Resorts, that role is being performed by VMG
                                                                                                                         17    Resorts through Vacation Management Group. Vacation Management Group is the
                                                                                                                         18    owner of both PR Rewards and VMG Resorts, as indicated on its website, a true and
                                                                                                                         19    correct screen shot of which is attached hereto as Exhibit 17. VMG Resorts holds
                                                                                                                         20    itself out as a “vacation resort wholesaler offering member exclusive resorts to the
                                                                                                                         21    general public at a fraction of the cost,” as indicated on its website, a true and correct
                                                                                                                         22    screen shot of which is attached hereto as Exhibit 18.
                                                                                                                         23          49.    Many of the accommodations that are offered through the VMG Resorts
                                                                                                                         24    website are part of the Resorts.      For instance, the below images are of Resorts
                                                                                                                         25    included in listings on the VMG Resorts website:
                                                                                                                         26

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                                                                                                                         22                ii.   Defendants’ Telephonic Advertisements
                                                                                                                         23          50.   The part of Defendants’ scheme where they have obtained control of
                                                                                                                         24    Collection Members’ Points has been primarily conducted through misleading
                                                                                                                         25    telephonic advertisements directed at Collection Members.
                                                                                                                         26          51.   The bulk of the telephone solicitations of which Diamond is presently
                                                                                                                         27    aware have come from the number “844-385-0276,” which Exchange Points lists as
                                                                                                                         28

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                                                                                                                         1     its phone number on its website. Some Collection Members have, however, received
                                                                                                                         2     calls originating from Owners Extras and PR Rewards.
                                                                                                                         3           52.    In these telephone solicitations, Defendants have attempted to enroll
                                                                                                                         4     Collection Members in two programs: “Maintenance Fee Reimbursement” and “Club
                                                                                                                         5     Elite” programs. Both of those programs involve the Member (a) paying an up-front
                                                                                                                         6     membership fee, and (b) depositing his or her Points with Defendants in exchange for
                                                                                                                         7     a promise of payment to be applied to that Member’s maintenance fees.
                                                                                                                         8           53.    Attached hereto as Exhibit 19 is a true and correct copy of a form
                                                                                                                         9     Agreement that has been furnished to multiple Collection Members, with the specific
                                                                                                                         10    identifying information redacted.     As relevant here, the agreement provides as
                                                                                                                         11    follows:
                                                                                                                         12                 a.     While Exchange Points “will handle all details involved with the
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                                                                                                                         13    rentals, including but not limited to; advertising, receiving incoming calls and emails,
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                                                                                                                         14    checking availability, [and] pricing reservations,” the Collection Member’s role is
                                                                                                                         15    “simply [to] provide the required points and guest certificates for the reservations.”
                                                                                                                         16    In other words, the Collection Members who enter into this agreement are required
                                                                                                                         17    to supply Exchange Points with not only access to their Points, but also “guest
                                                                                                                         18    certificates” to permit the persons Exchange Points uses the Points to make
                                                                                                                         19    reservations for to check-in at the Resort.
                                                                                                                         20                 b.     In addition, the agreement forbids the participating Collection
                                                                                                                         21    Member from cancelling a reservation that Exchange Points makes through the
                                                                                                                         22    Member’s account, and also requires the Member to notify Exchange Points if the
                                                                                                                         23    Member gets into a dispute with Diamond that could lead to that Member losing
                                                                                                                         24    access to his or her account. In particular, the agreement states that “if we are
                                                                                                                         25    locked out of your account due to non-payment or dispute with Diamond, this
                                                                                                                         26    agreement will be null and void, and owner could be liable for damages on lost guest
                                                                                                                         27    reservations. Always notify us in advance of any dispute with Diamond, so we can
                                                                                                                         28    move our reservations out of your account.”

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                                                                                                                         1                  c.    The agreement also requires the Member to give Exchange Points
                                                                                                                         2     control of his or her Member Portal Account, stating: “Upon payment of the sums set
                                                                                                                         3     forth above to Owner, the Exchange Points Club shall have the right to access
                                                                                                                         4     Owner’s Account within the reservation/points system maintained by Diamond for
                                                                                                                         5     the purpose of making reservations and rentals, communicating with Diamond and
                                                                                                                         6     otherwise transacting all business related to the Points as the Owner would.”
                                                                                                                         7                  d.    The agreement requires the participating Collection Member to
                                                                                                                         8     pay Exchange Points $1,495 in order to enroll in the “Maintenance Fee
                                                                                                                         9     Reimbursement” program.
                                                                                                                         10                 e.    Finally, the agreement states that “Club member understands
                                                                                                                         11    that the Maintenance Reimbursement is handled solely by Exchange Points Club.
                                                                                                                         12    NOT AN RCI/Diamond PRODUCT.” That is the only indication Exchange Points
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                                                                                                                         13    provides that it is not affiliated with either Diamond or RCI. Up to that point in the
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                                                                                                                         14    sales transaction, Exchange Points leads the Collection Members to believe that the
                                                                                                                         15    programs being offered are sponsored by, or otherwise affiliated with, Diamond.
                                                                                                                         16          54.    Though the sales calls Collection Members have received from
                                                                                                                         17    Defendants have all centered on a proposal for reimbursement for the Members’
                                                                                                                         18    Points, they have varied in who the caller has claimed to be affiliated with.
                                                                                                                         19    Collection Members have received calls purporting to be coming from (a) “Diamond,”
                                                                                                                         20    (b) “Diamond Resorts,” (c) “Member Services with Diamond Resorts,” (d) “The Club,”
                                                                                                                         21    (e) “Club Services regarding your Diamond Points account,” (f) “Diamond’s Travel
                                                                                                                         22    Services Department,” (g) “Owner’s Extras for Diamond,” (h) “Interval International,”
                                                                                                                         23    (i) “RCI,” (j) “RCI Points,” and (k) various entities supposedly affiliated with
                                                                                                                         24    Diamond’s equity sponsors.   In one instance, a Collection Member was contacted by
                                                                                                                         25    someone at the Exchange Points number purporting to be from “RCI Services,” who
                                                                                                                         26    later connected her with someone who described himself as her “Diamond
                                                                                                                         27    Counselor,” and falsely explained that the programs he was offering were new to
                                                                                                                         28    Diamond and had come about as a result of changes in Diamond’s ownership

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                                                                                                                         1     structure.    All of those representations of affiliation with an entity other than
                                                                                                                         2     Exchange Points were false.
                                                                                                                         3           55.     In other sales calls to Collection Members, Defendants’ salespeople have
                                                                                                                         4     implied that the caller was not only affiliated with Diamond, but calling about a
                                                                                                                         5     specific problem with that Collection Member’s account. Thus, multiple Members
                                                                                                                         6     have received such calls purporting to be from “The Club” or “RCI” in which the
                                                                                                                         7     caller has claimed to be calling about an “issue” with the Member’s account, and, in
                                                                                                                         8     particular, the fact that the Member has not been using all of his or her Points. And,
                                                                                                                         9     multiple Collection Members have been left official-sounding voicemail messages
                                                                                                                         10    from someone at the Exchange Points number, which have stated: “This is [name]
                                                                                                                         11    from Club Services calling regarding your Points account.        We have a couple of
                                                                                                                         12    notices here.”
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                                                                                                                         13          56.     The purpose of these false representations is to confuse the Collection
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                                                                                                                         14    Member into believing that the proposal to rent the Member’s Points for a fee is
                                                                                                                         15    coming from and/or authorized by Diamond, and is, accordingly, permissible under
                                                                                                                         16    the terms of Diamond’s agreements with Collection Members and the governing
                                                                                                                         17    documents for the Member’s Collection.
                                                                                                                         18          57.     Collection Members who entered into agreements with Defendants have
                                                                                                                         19    received notices indicating that their Points have been used to make reservations for
                                                                                                                         20    non-Collection Members.     These notices have been coming from Defendant VMG
                                                                                                                         21    Resorts, even though the sales calls have all been coming from Exchange Points, PR
                                                                                                                         22    Rewards, or Owners’ Extras. In fact, one Collection Member was provided copies of
                                                                                                                         23    the contract the Member eventually signed through an online portal hosted by the
                                                                                                                         24    website      for   Defendant    VMG      Resorts    (specifically,   at   the    URL
                                                                                                                         25    https://www.vmgportal.com/vmg-contracts/epc-diam.php).
                                                                                                                         26          58.     Upon information and belief, the solicitations described above represent
                                                                                                                         27    only a small percentage of the actual solicitations made by that company to
                                                                                                                         28    Collection Members.     Diamond only learns about such solicitations when such

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                                                                                                                         1     Members come to Diamond with their concerns, which will only be a small subset of
                                                                                                                         2     those actually contacted.
                                                                                                                         3           59.      Upon information and belief, most, if not all, of the Collection Members
                                                                                                                         4     who have paid Defendants upfront fees have received no proceeds from the purported
                                                                                                                         5     rental of their Points.
                                                                                                                         6           60.      Upon information and belief, Defendants are privy to unauthorized
                                                                                                                         7     inside information about Collection Members and are using that information to
                                                                                                                         8     target members who have large reserves of unused Points.
                                                                                                                         9           D.       Injuries to Diamond
                                                                                                                         10          61.      Defendants’ conduct has caused, and is causing, direct and immediate
                                                                                                                         11    harm to Diamond. This harm has taken multiple forms.
                                                                                                                         12          62.      For instance, Defendants’ conduct is causing irreparable harm to
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                                                                                                                         13    Diamond’s relationship with Collection Members. Collection Members are being led
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                                                                                                                         14    to believe that the programs Defendants are trying to get them to enroll in for a hefty
                                                                                                                         15    fee are coming from, or at least affiliated with, Diamond. When those programs do
                                                                                                                         16    not work out as promised – and, in particular, when the Collection Member does not
                                                                                                                         17    get its up-front payment returned, let alone the profits promised – that harms the
                                                                                                                         18    goodwill Diamond has built up with Collection Members. In addition, Defendants’
                                                                                                                         19    representations that the transactions they are proposing to Collection Members are
                                                                                                                         20    authorized and permissible are undermining Diamond’s ability to manage the
                                                                                                                         21    Collections.
                                                                                                                         22          63.      In addition, Defendants’ unauthorized commercial rental of Resort
                                                                                                                         23    accommodations is diverting vacationers from Diamond to Defendants. The persons
                                                                                                                         24    renting accommodations within the Resorts through Defendants could otherwise only
                                                                                                                         25

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                                                                                                                         1     participate in such a vacation stay either by (a) purchasing Points, or (b) renting the
                                                                                                                         2     accommodations from Diamond.3
                                                                                                                         3           64.    Finally, Defendants’ conduct has required Diamond to expend
                                                                                                                         4     significant resources uncovering their schemes and attempting to undo the damage
                                                                                                                         5     they are causing to Diamond’s relationship with the Collection Members.
                                                                                                                         6           D.     Diamond’s Attempts to Resolve the Issues
                                                                                                                         7           65.    On January 4, 2019, Diamond, through its undersigned counsel, sent a
                                                                                                                         8     cease-and-desist letter to Defendants Kyle Brown and Martin Brown regarding the
                                                                                                                         9     conduct described herein. A true and correct copy of that correspondence is attached
                                                                                                                         10    hereto as Exhibit 20.    In that letter, Diamond asked that Defendants cease all
                                                                                                                         11    infringing activity and provide a thorough accounting of their activities with regard
                                                                                                                         12    both to Collection Members and selling access to the Resorts.
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                                                                                                                         13          66.    Shortly thereafter, Defendant Kyle Brown reached out to undersigned
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                                                                                                                         14    counsel. Defendant Kyle Brown represented that Defendant Exchange Points was no
                                                                                                                         15    longer an ongoing business. At the time this representation was made, Exchange
                                                                                                                         16    Points still had an active website that advertised affiliation with Diamond and was
                                                                                                                         17    listed as an active business in both Missouri and Florida. (Later the references to
                                                                                                                         18    Diamond on the Exchange Points website were removed.)
                                                                                                                         19          67.    In discussions with undersigned counsel, Defendant Kyle Brown further
                                                                                                                         20    represented that his businesses had stopped actively soliciting Diamond’s Collection
                                                                                                                         21    Members for the use of their Points, explaining that they no longer considered that
                                                                                                                         22    line of business to be profitable.       No proof was furnished to support that
                                                                                                                         23    representation.   In fact, Diamond has continued, as of the date of this filing, to
                                                                                                                         24    receive reports from Collection Members about the conduct described herein.
                                                                                                                         25

                                                                                                                         26          3 Because the persons renting the Resort accommodations through Defendants

                                                                                                                         27    are not timeshare owners, they would not be able to make reservations through an
                                                                                                                               exchange company such as II.
                                                                                                                         28

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                                                                                                                         1           68.    In addition, Defendant Kyle Brown pointedly refused to direct his
                                                                                                                         2     businesses to stop engaging in the second part of the schemes described herein – the
                                                                                                                         3     use of Member Portal Accounts to book stays at resorts for Defendants’ customers.
                                                                                                                         4     While Defendant Kyle Brown acknowledged that his businesses had no right to
                                                                                                                         5     access Diamond’s internal booking system through Collection Members’ accounts or
                                                                                                                         6     Member Portal Accounts, he said the fault for that rested exclusively with the
                                                                                                                         7     Collection Members themselves, whom he accused of falsely representing that they
                                                                                                                         8     were permitted to provide Defendants with such access.        As of this writing, the
                                                                                                                         9     website for Defendant VMG Resorts continues to display images of Resorts and
                                                                                                                         10    promote access to those Resorts through VMG Resorts.
                                                                                                                         11          69.    Finally, Defendant Brown refused Diamond’s demand that he identify
                                                                                                                         12    (a) the Collection Members who provided his businesses with access to their Points,
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                                                                                                                         13    (b) the dates and locations of every vacation stay at a Resort that his businesses
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                                                                                                                         14    facilitated or received compensation for facilitating, or (c) the information he and/or
                                                                                                                         15    his businesses acquired about Collection Members’ accounts and Member Portal
                                                                                                                         16    Accounts and how they acquired it.
                                                                                                                         17          70.    On information and belief, the schemes described herein are still being
                                                                                                                         18    enacted, notwithstanding any representations that have been made.
                                                                                                                         19                                         COUNT I
                                                                                                                                                    (Trademark Infringement– 15 U.S.C. §1114)
                                                                                                                         20

                                                                                                                         21          71.    Diamond repeats and realleges the allegations set forth in Paragraphs 1
                                                                                                                         22    through 70 above as if set forth fully herein.
                                                                                                                         23          72.    Diamond owns the exclusive rights to the “Diamond Resorts” name, as
                                                                                                                         24    well as all of the Diamond Marks listed above. At no time did Diamond authorize
                                                                                                                         25    Defendants to use any of Diamond’s marks.
                                                                                                                         26          73.    Notwithstanding Diamond’s well-known and prior common law and
                                                                                                                         27    statutory rights in the Diamond Marks, Defendants have, with actual and
                                                                                                                         28    constructive notice of those rights, used those marks in interstate commerce in

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                                                                                                                         1     conjunction with both (a) their marketing of their various commercial rental
                                                                                                                         2     programs for Collection Members’ Points, and (b) their marketing and sale of access
                                                                                                                         3     to the Resorts.
                                                                                                                         4           74.    Defendants’ use of the Diamond Marks without the authorization of
                                                                                                                         5     Diamond is not only likely to deceive and cause confusion among those targeted by
                                                                                                                         6     the deceptive sales communications, but actually has caused such confusion.       In
                                                                                                                         7     particular, Collection Members have been deceived by Defendants’ use of the
                                                                                                                         8     Diamond Marks into believing that the telephone solicitations they have received
                                                                                                                         9     from Defendants are coming from Diamond itself, or else an entity affiliated with
                                                                                                                         10    Diamond. In addition, the consumers who have reserved accommodations at the
                                                                                                                         11    Resorts through Defendants have been deceived by Defendants’ use of the Diamond
                                                                                                                         12    Marks into believing that Defendants are authorized wholesale distributors of
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                                                                                                                         13    vacation stays at the Resorts.
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                                                                                                                         14          75.    Defendants’ conduct has caused, and, if not enjoined by this Court, will
                                                                                                                         15    continue to cause, irreparable harm to Diamond in that it is undermining Diamond’s
                                                                                                                         16    relationship to the Collection Members and causing Diamond to lose control of its
                                                                                                                         17    brand.
                                                                                                                         18          76.    Defendants’ conduct has caused, and, if not stopped, will continue to
                                                                                                                         19    cause, monetary injury to Diamond in the form of both the diversion of business from
                                                                                                                         20    Diamond to Defendants, and the taking on of the costs of investigating, and
                                                                                                                         21    attempting to counteract, Defendants’ conduct.          The amount of such economic
                                                                                                                         22    damages is not presently ascertainable, but will be proven at trial.
                                                                                                                         23                                             COUNT II
                                                                                                                         24                      (False Designation of Origin – 15 U.S.C. § 1125(a)(1)(A))
                                                                                                                         25          77.    Diamond repeats and realleges the allegations set forth in Paragraphs 1
                                                                                                                         26    through 76 above as if set forth fully herein.
                                                                                                                         27

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                                                                                                                         1           78.     Diamond owns the exclusive rights to the “Diamond Resorts” name, as
                                                                                                                         2     well as all of the Diamond Marks listed above. At no time did Diamond authorize
                                                                                                                         3     Defendants to use any of Diamond’s marks.
                                                                                                                         4           79.     Defendants have engaged in a campaign of telephonic advertisements in
                                                                                                                         5     which they have falsely represented to Collection Members that the commercial
                                                                                                                         6     rental programs they are attempting to get the Collection Members to enroll in are
                                                                                                                         7     affiliated with Diamond, and, therefore, permissible.          These false representations
                                                                                                                         8     have taken the form not only of unauthorized use of the Diamond Marks, but also
                                                                                                                         9     claims to be affiliated with Diamond’s equity sponsors or with exchange companies
                                                                                                                         10    with which Diamond might do business, as well as more general suggestions that the
                                                                                                                         11    solicitations are coming from an entity with insider knowledge of, and authority over,
                                                                                                                         12    the Collection Member’s Points.
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                                                                                                                         13          80.     In addition, Defendants, in selling and facilitating occupancy of
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                                                                                                                         14    accommodations within the Resorts, have falsely held themselves out as authorized
                                                                                                                         15    wholesale distributors of vacation stays at the Resorts. They have done this through
                                                                                                                         16    the use the Diamond Marks, as well as separate false promises and warranties they
                                                                                                                         17    have made.
                                                                                                                         18          81.     Such false claims of affiliation with Diamond are not only likely to
                                                                                                                         19    deceive     and   cause   confusion   among    the   targets     of   the   deceptive   sales
                                                                                                                         20    communications, but actually have caused such confusion. In particular, Collection
                                                                                                                         21    Members have been deceived by Defendants’ false representations into believing that
                                                                                                                         22    the telephone solicitations they have received from Defendants are coming from
                                                                                                                         23    Diamond itself, or else an entity affiliated with, or authorized to do business on
                                                                                                                         24    behalf of, Diamond.       In addition, the consumers who have reserved stays at the
                                                                                                                         25    Resorts through Defendants have been deceived by Defendants’ false representations
                                                                                                                         26    into believing that Defendants are authorized wholesale distributors of vacation
                                                                                                                         27    stays at the Resorts.
                                                                                                                         28          82.     These false representations have been made in interstate commerce.

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                                                                                                                         1           83.    Defendants’ conduct has caused, and, if not enjoined by this Court, will
                                                                                                                         2     continue to cause, irreparable harm to Diamond in that it is undermining Diamond’s
                                                                                                                         3     relationship to the Collection Members.
                                                                                                                         4           84.    Defendants’ conduct has caused, and, if not stopped, will continue to
                                                                                                                         5     cause, monetary injury to Diamond in the form of both the diversion of business from
                                                                                                                         6     Diamond to Defendants, and the taking on of the costs of investigating, and
                                                                                                                         7     attempting to counteract, Defendants’ conduct.        The amount of such economic
                                                                                                                         8     damages is not presently ascertainable, but will be proven at trial.
                                                                                                                         9                                           COUNT III
                                                                                                                         10                        (False Advertising – 15 U.S.C. § 1125(a)(1)(B))
                                                                                                                         11          85.    Diamond repeats and realleges the allegations set forth in Paragraphs 1
                                                                                                                         12    through 84 above as if set forth fully herein.
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                                                                                                                         13          86.    Defendants have engaged in a campaign of telephonic advertisements
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                                                                                                                         14    directed at Collection Members in which, in an effort both to extract payment from
                                                                                                                         15    Collection Members and gain control of the Members’ Points for commercial rental,
                                                                                                                         16    Defendants are making a series of material misrepresentations to Collection
                                                                                                                         17    Members.     In particular, Defendants are falsely representing (a) that they are
                                                                                                                         18    affiliated with and/or acting on behalf of Diamond, (b) that the programs in which
                                                                                                                         19    they are attempting to enroll Collection Members are permissible under the terms of
                                                                                                                         20    those Members’ agreements with Diamond and the governing documents for their
                                                                                                                         21    Collection, and (c) that the Collection Member will receive significant monetary
                                                                                                                         22    returns for surrendering control of their Points to Defendants.
                                                                                                                         23          87.    Defendants are likewise making a series of material misrepresentations
                                                                                                                         24    in connection with promoting their rentals of Resort accommodations. In particular,
                                                                                                                         25    Defendants are false representing that they are authorized wholesale distributors of
                                                                                                                         26    vacation stays at the Resorts and authorized to sell access to such Resorts.
                                                                                                                         27          88.    These false representations have been made in interstate commerce.
                                                                                                                         28

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                                                                                                                         1           89.    These false representations have a tendency to deceive, and have, in
                                                                                                                         2     fact, deceived, both Collection Members and the customers to whom Defendants are
                                                                                                                         3     selling and facilitating occupancy to accommodations within the Resorts.
                                                                                                                         4           90.    These false representations are material and are likely to influence, and
                                                                                                                         5     have, in fact, influenced, purchasing decisions of both Collection Members and
                                                                                                                         6     Defendants’ customers.
                                                                                                                         7           91.    Defendants’ conduct has caused, and, if not stopped, will continue to
                                                                                                                         8     cause, irreparable harm to Diamond in that it is undermining Diamond’s relationship
                                                                                                                         9     to Collection Members and causing Diamond to lose control of its brand.
                                                                                                                         10          92.    Defendants’ conduct has caused, and, if not stopped, will continue to
                                                                                                                         11    cause, monetary injury to Diamond in the form of both the diversion of business from
                                                                                                                         12    Diamond to Defendants, and the taking on of the costs of investigating, and
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                                                                                                                         13    attempting to counteract, Defendants’ conduct.        The amount of such economic
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                                                                                                                         14    damages is not presently ascertainable, but will be proven at trial.
                                                                                                                         15                                          COUNT IV
                                                                                                                         16                 (Deceptive Trade Practices – Nev. Stat. §§ 598, 598A et seq.)
                                                                                                                         17          93.    Diamond repeats and realleges the allegations set forth in Paragraphs 1
                                                                                                                         18    through 92 above as if set forth fully herein.
                                                                                                                         19          94.    Defendants have, and are, engaged in a series of deceptive practices
                                                                                                                         20    designed to (a) acquire illicit control over Collection Members’ Points, and (b) profit
                                                                                                                         21    from selling and facilitating occupancy of accommodations within the Resorts.
                                                                                                                         22          95.    Those practices have involved (a) falsely claiming or implying affiliation
                                                                                                                         23    with Diamond to Collection Members, (b) falsely representing to Collection Members
                                                                                                                         24    that there are certain “problems” with their Collection accounts that Defendants are
                                                                                                                         25    authorized to help them with, (c) falsely promising to Collection Members significant
                                                                                                                         26    returns in exchange for providing an upfront fee for surrendering control of their
                                                                                                                         27    Points, and (d) falsely representing to its customers that they are authorized
                                                                                                                         28    wholesale distributors of vacation stays at the Resorts.

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                                                                                                                         1           96.    Defendants’ conduct constitutes engagement in “trade or commerce” as
                                                                                                                         2     defined by Nev. Rev. Stat. § 598A.020.
                                                                                                                         3           97.    Defendants’ conduct has caused, and, if not enjoined by this Court, will
                                                                                                                         4     continue to cause, irreparable harm to Diamond in that it is undermining Diamond’s
                                                                                                                         5     relationship to Collections Members and causing Diamond to lose control of its brand.
                                                                                                                         6           98.    Defendants’ conduct has caused, and, if not stopped, will continue to
                                                                                                                         7     cause, monetary injury to Diamond in the form both of the diversion of business from
                                                                                                                         8     Diamond to Defendants, and of the costs of investigating, and attempting to
                                                                                                                         9     counteract, Defendants’ conduct.     The amount of such economic damages is not
                                                                                                                         10    presently ascertainable, but will be proven at trial.
                                                                                                                         11                                               COUNT V
                                                                                                                         12                                     (Common Law Conversion)
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                                                                                                                         13          99.    Diamond repeats and realleges the allegations set forth in Paragraphs 1
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                                                                                                                         14    through 98 above as if set forth fully herein.
                                                                                                                         15          100.   Diamond, through its affiliates, holds the exclusive right to engage in
                                                                                                                         16    the commercial rental of Resort accommodations through the use of Points under the
                                                                                                                         17    governing documents for the Collections.
                                                                                                                         18          101.   Defendants have been, without authorization, selling and facilitating
                                                                                                                         19    occupancy of accommodations within the Resorts. They have been doing so through
                                                                                                                         20    obtaining unauthorized access to Diamond’s online reservations system for Collection
                                                                                                                         21    Members, and making reservations for their customers at Resorts via the accounts of
                                                                                                                         22    Collection Members and via the Member Portal Accounts.
                                                                                                                         23          102.   Defendants have engaged in such conduct with malice, that is, with
                                                                                                                         24    knowledge that they lacked any authority to access Diamond’s online reservations
                                                                                                                         25    system or to sell and facilitate access to accommodations within the Resorts and,
                                                                                                                         26    thus, full awareness that such conduct was contrary to Diamond’s ownership rights.
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                                                                                                                         1           103.   Defendants’ conduct has caused, and, if not stopped, will continue to
                                                                                                                         2     cause, monetary injury to Diamond in the form of the diversion of rents from
                                                                                                                         3     Diamond to Defendants.
                                                                                                                         4                                    PRAYER FOR RELIEF
                                                                                                                         5           WHEREFORE, Plaintiffs pray that the Court enter an Order against
                                                                                                                         6     Defendants as follows:
                                                                                                                         7           1.     Preliminarily and permanently enjoining Defendants, their officers,
                                                                                                                         8                  agents, servants, employees and attorneys, and all those in active
                                                                                                                         9                  concert or participation with them, from:
                                                                                                                         10                 a. using any Diamond Marks, or otherwise engaging in any further
                                                                                                                         11                    advertising or promotion – whether in print, email, telephonically, on
                                                                                                                         12                    their websites, or otherwise – that either (a) suggests an affiliation
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                                                                                                                         13                    with Diamond, or (b) suggests that any of Defendants is authorized
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                                                                                                                         14                    as a wholesale distributor of vacation stays at the Resorts or has
                                                                                                                         15                    authority to facilitate or otherwise sell access to the Resorts;
                                                                                                                         16                 b. holding themselves out as authorized depositories, managers, or
                                                                                                                         17                    renters of Points; and
                                                                                                                         18                 c. using, or attempting to use, Collection Members’ Points or Member
                                                                                                                         19                    Portal Accounts obtained through their schemes to sell and/or
                                                                                                                         20                    facilitate access to vacation stays at the Resorts;
                                                                                                                         21          2.     Awarding Diamond disgorgement of Defendants’ profits;
                                                                                                                         22          3.     Awarding reasonable attorney’s fees pursuant to 15 U.S.C. § 1117 and
                                                                                                                         23                 Nev. Rev. Stat. § 41.600;
                                                                                                                         24          4.     Awarding Diamond its costs in bringing the action;
                                                                                                                         25          5.     Awarding Diamond punitive damages; and
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                                                                                                                         1          6.    Awarding any further relief that this Court deems just and proper.
                                                                                                                         2          Dated: February 6, 2019.
                                                                                                                         3                                                BALLARD SPAHR LLP
                                                                                                                         4
                                                                                                                                                                      By: __/s/ Abran E. Vigil_________________
                                                                                                                         5                                               Abran E. Vigil
                                                                                                                                                                         Nevada Bar No. 7548
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                                                                                                                                                                         Las Vegas, Nevada 89135
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                                                                                                                         8
                                                                                                                                                                          Paul J. Safier
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                                                                                                                         10                                               Pro Hac Vice Forthcoming
                                                                                                                         11                                               Attorneys for Plaintiffs
                                                                                                                         12
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